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                         IN THE UM TED STATES DISTRICT COURT                                t
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    VS.                                          j        CRIM W AL NO.4:12-CR-095-Y
                                                 j
    APRIL M ICHELLE GREENE (5)                   j
                RE PO RT O F A CTIO N AN D R EC O M M EN D ATIO N O N PLEA
                  B EFO R E TH E UN ITED STA TE S M A G ISTM TE JUD G E

          ThisReportofActiononPleaissubmittedtothecourtplzrsuantte28U.S.C.j636(b)(3).
    ThiscasehasbeenreferredbytheUnitedStatesdistrictjudgetothetmdersir edforthetakingof
    aguiltyplea.ThepartieshaveconsentedtoappearbeforeaUnitedStatesmagistratejudgefor
    these purposes.

          The defendant appeared w ith counselbefore the tm dersigned U nited States m agistrate

    judgewhoaddressedthedefendantpersonallyinopencourtandinformedthedefendantof,and
    determ ined thatthe defendantunderstood,the admonitionscontained in Rule 11ofthe Federal

    RulesofCrim inalProcedure.

          Thedefendantpledguilty(pursuanttoapleabargain agreemlntwiththegovernment)to
    countone ofthe two-countsuperseding indictm entcharging defendantwith the violation of21

    U.S.C.j846.Theundersignedmagistratejudgefindsthefollowing:
           1. The defendant,upon advice ofcotm sel,has consented orally and in w riting to
          enterthisguilty plea before am agistrate judge subjed to tinalapprovaland
          sentencingbythepresidingdistrictjudge;
          2. The defendantfully understandsthenature ofthe chargesand penalties;
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ReportofA ction and R ecom m endation O n Plea
Before the U nited StatesM agistrateJudge
Page 2

       3. The defendantfully understandsthe term softheplea agreem ent;

       4. The defendanttm derstandsa11constitutionaland statutory rightsand w ishesto
       waivetheserights,includingtherightto atrialbyjury and therightto appear
       beforeaUnitedStatesdistrictjudge;
       5. The defendant'splea ism ade freely and voluntadly;

       6. The defendantiscom petentto enterthis plea ofguilty;

       7. There isa factualbasis forthisplea;and

       8.Theendsofjusticeareservedbyacceptanceofthedefendant'spleaofguilty.
       A lthoug,h Ihaveconducted theseproceedings,acceptedthe defendant'spleaofguilty,and

pronounced thedefendantguilty in open court,upon thedefendant'sconsentand the referralfrom

theUnitedStatesdistrictjudge,thatjudgehasthepowertoreview myactionsinthisproceeding
andpossessesfinaldecisionmakingauthority.Thus,ifthedefendanthasanyobjectionstothe
tindingsorany otheraction oftheundersigned he should m ake those know n to the United States

districtjudgewithinfourteendaysoftoday.
       lrecommendthatdefendant'spleaofguiltybeacceptedandthatthedefendantbeadjudged
guiltybytheUnited Statesdistrictjudgeandthatsentencebeimposedaccordingly.
       Sir ed Novem ber 14,2012.

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                                                JEFF        .CUR ETON
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